         Case 2:21-cv-03413-MSG Document 22 Filed 06/29/22 Page 1 of 8



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KIMBERLY SHEFCYK, individually and as a           :
parental guardian of K.F., a minor,               :
                                                  :
               Plaintiffs,                        :
                                                  :
       vs.                                        :
                                                  :           CIVIL ACTION NO. 21-3413
TEMPLE UNIVERSITY HOSPITAL, INC.,                 :
AND THE UNITED STATES OF AMERICA,                 :
                                                  :
               Defendants.                        :
                                                  :
                                                  :
                                    MOTION TO DISMISS

       The Defendant United States of America moves to dismiss the plaintiff’s first amended

complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) for the reasons set forth in the

accompanying Memorandum of Law. The United States respectfully requests that the first

amended complaint against the United States be dismissed and that the Court enter the enclosed

ORDER.


                                                      Respectfully submitted,

                                                      JACQUELINE C. ROMERO
                                                      United States Attorney

                                                      s/ Gregory B. David___
                                                      GREGORY B. DAVID
                                                      Assistant United States Attorney
                                                      Chief, Civil Division


                                                      s/ Judith A.K. Amorosa
                                                      JUDITH A.K. AMOROSA
                                                      Assistant United States Attorney
                                                      615 Chestnut Street, Suite 1250
                                                      Philadelphia, PA 19106
                                                      Tel: (215) 861-8869
                                                      Fax: (215) 861-8618
                                                      Email: Judith.amorosa@usdoj.gov
 Dated: June 29, 2022
         Case 2:21-cv-03413-MSG Document 22 Filed 06/29/22 Page 2 of 8



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KIMBERLY SHEFCYK, individually and as a
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     vs.                          :
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TEMPLE UNIVERSITY HOSPITAL, INC., :
AND THE UNITED STATES OF AMERICA, :
                                  :
          Defendants.             :
                                  :
                                  :
           MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
      DISMISS OF THE DEFENDANT THE UNITED STATES OF AMERICA
       The Defendant United States of America moves to dismiss the plaintiff’s first amended

complaint against the United States pursuant to Federal Rule of Civil Procedure 12(b)(6) on the

basis that the plaintiff’s administrative tort claim was untimely filed.

               I.      INTRODUCTION

       This is a medical malpractice action brought in the Philadelphia Court of Common

Pleas and then removed to federal court. According to the complaint, plaintiff Kimberly

Shefcyk is the mother of a baby who was born at Temple University Hospital on February

18, 2018. Shefcyk alleged that defendant Dr. Henry Su, the attending physician, committed

professional negligence in connection with the baby’s birth.

       Dr. Su, as an employee of the U.S. Public Health Service acting within the scope

of his employment, is covered by the Federal Tort Claims Act (“FTCA”), such that the

United States was substituted in his place as the sole federal defendant. Because Shefcyk

failed to file an administrative claim with the appropriate federal agency within the two-

year statute of limitations period under the FTCA, her direct claim against the United States

set forth in the first amended complaint is now time-barred and must be dismissed.
         Case 2:21-cv-03413-MSG Document 22 Filed 06/29/22 Page 3 of 8




               II.     RELEVANT FACTUAL AND PROCEDURAL HISTORY

       Plaintiff Kimberly Shefcyk, individually and as a parental guardian of K.F., a minor, filed

suit in Philadelphia Court of Common Pleas on April 26, 2021 naming Temple University

Hospital, Inc., Temple Physicians, Inc. (together, “the Temple defendants”), and Henry Su, D.O.

as defendants. Doc. No. 1 at Ex. 1. Denying that Dr. Su was their employee, the Temple

defendants filed a cross-claim against Dr. Su in the Philadelphia court on May 13, 2021,

claiming contribution and indemnification. Doc. No. 1 at Ex. 2.

       The United States, asserting that Dr. Su was an employee of the U.S. Public Health

Service acting within the scope of his employment at the time of the alleged incident, then

removed the case to federal court. Doc. No. 1. Upon the parties’ stipulation, the court ordered

that the United States be substituted as a defendant in place of Dr. Su and that the case be stayed

to allow time for Shefcyk to file an administrative tort claim with the appropriate federal agency.

Doc. No. 13. On September 9, 2021, Shefcyk filed an administrative tort claim pursuant to the

FTCA. Doc. No. 20 (Amended Complaint) at ¶ 8. Her administrative tort claim was denied on

April 4, 2022. Id. at ¶ 9.

       Shefcyk filed a first amended complaint on June 1, 2022, naming the United States as a

defendant upon allegations that Dr. Su, the attending physician to her baby’s February 18, 2018

birth at Temple University Hospital, was negligent in providing medical care. Doc. No. 20.

               III.    LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(6) provides that a defendant may move to dismiss

a complaint for failure to state a claim. In the Third Circuit, a statute of limitations defense may

be raised by motion under Rule 12(b)(6) if it is apparent on the face of the complaint that the

claim is untimely. Robinson v. Johnson, 313 F.3d 128, 136 (3d Cir. 2002). The failure to file an


                                                  2
          Case 2:21-cv-03413-MSG Document 22 Filed 06/29/22 Page 4 of 8




administrative tort claim with the appropriate federal agency within two years of the accrual of

the claim, as provided by 28 U.S.C. § 2401(b), is grounds for dismissal pursuant to Rule

12(b)(6). O’Brien v. United States, 2018 U.S. Dist. LEXIS 129147, at **19-20 (E.D. Pa. Jul. 18,

2018).

                IV.    ARGUMENT

         The first amended complaint against the United States must be dismissed as time-barred,

because Shefcyk failed to present her claim to the appropriate federal agency within two years of

its accrual.

         Under the FTCA, a plaintiff must exhaust administrative remedies by presenting her

claim to the appropriate federal agency, before bringing suit in federal court. 28 U.S.C.

§ 2675(a); McNeil v. United States, 508 U.S. 106, 113 (1993) (FTCA bars plaintiff from suing in

federal court before exhausting administrative remedies). The FTCA has a two-year statute of

limitations period in which an aggrieved person may file an administrative tort claim with the

appropriate federal agency. 28 U.S.C. § 2401(b). A plaintiff must abide by the strict time

requisites codified in 28 U.S.C. §2401(b) or her tort claim under the FTCA will be “forever

barred.” Bialowas v. United States, 443 F.2d 1047, 1049 (3d Cir. 1971). Section 2401’s “time

bar is strictly construed.” Livera v. First Nat. State Bank of N.J., 879 F.2d 1186, 1195 (3d Cir.

1989).

         The alleged negligence occurred on February 18, 2018, the baby’s date of birth. Shefcyk

filed suit naming Dr. Su in the Philadelphia Court of Common Pleas on April 26, 2021, over 14

months after the FTCA’s two-year limitations period had passed. Even if Shefcyk’s lawsuit

naming Dr. Su could be construed as satisfying the “presentment” requirement under the FTCA

and thus tolling the two-year statute, Shefcyk’s claim against the United States is nonetheless


                                                 3
          Case 2:21-cv-03413-MSG Document 22 Filed 06/29/22 Page 5 of 8




untimely. Accordingly, the first amended complaint against the United States must be dismissed.

See Boseski v. N. Arlington Municipality, 621 Fed. Appx. 131, 136 (3d Cir. Aug. 7, 2015)

(because the plaintiff did not file an administrative claim within two years of the accrual of any

of the claims in her complaint, the district court correctly dismissed FTCA claims with prejudice,

as “forever barred”).

        While equitable tolling in an FTCA case has been recognized, United States v.

Kwai Fun Wong, 135 S. Ct. 1625, 1638 (2015), Shefcyk has not pleaded any

circumstances which would warrant the Court to consider equitable tolling. See D.J.S.-

W. v. United States, 962 F. 3d 745 (3d Cir. 2020) (setting out the test for equitable tolling

and determining that plaintiff failed to meet it); cf. Young v. Temple Univ. Hosp., 2019

U.S. Dist. LEXIS 186711, at **19-31 (E.D. Pa. Oct. 28, 2019) (Goldberg, J.)

(determining that equitable tolling was appropriate to toll two-year FTCA statute of

limitations). Accordingly, Shefcyk’s claim against the United States based upon the

conduct of Dr. Su must be dismissed. See, e.g., Taggart v. Norwest Mortg., Inc., 2010

U.S. Dist. LEXIS 2263, at *8 (E.D. Pa. Jan. 11, 2010) (“[I]f equitable tolling were to

apply, the plaintiff has failed to allege specific facts for a plausible equitable tolling

claim[.]”); Lipscomb v. United States, 2017 U.S. Dist. LEXIS 141015, at *7 (S.D.N.Y.

Aug. 31, 2017) (“Plaintiff’s FTCA claims against Defendant must be DISMISSED

without prejudice because Plaintiff failed to timely present such claims to the Federal

Bureau of Prisons, and he has not plausibly alleged any facts to demonstrate that he is

entitled to equitable tolling of the limitations period.”).




                                                   4
         Case 2:21-cv-03413-MSG Document 22 Filed 06/29/22 Page 6 of 8




       V.     CONCLUSION

       For the reasons set forth herein, the first amended complaint against the United

States must be dismissed as time-barred.



                                                   Respectfully submitted,

                                                   JACQUELINE C. ROMERO
                                                   United States Attorney


                                                   s/
                                                   GREGORY B. DAVID
                                                   Assistant United States Attorney
                                                   Chief, Civil Division


                                                   s/ Judith A.K. Amorosa
                                                   JUDITH A.K. AMOROSA
                                                   Assistant United States Attorney
                                                   615 Chestnut Street, Suite 1250
                                                   Philadelphia, PA 19106
                                                   Tel: (215) 861-8869
                                                   Fax: (215) 861-8618
                                                   Email: Judith.amorosa@usdoj.gov
 Dated: June 29, 2022




                                              5
          Case 2:21-cv-03413-MSG Document 22 Filed 06/29/22 Page 7 of 8



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TEMPLE UNIVERSITY HOSPITAL, INC.,                  :
AND THE UNITED STATES OF AMERICA,                  :
                                                   :
                Defendants.                        :
                                                   :
                                                   :
                                              ORDER

         Upon the motion to dismiss of the Defendant United States of America and any response

thereto, it is HEREBY ORDERED:

         1) the motion is granted;

         2) the plaintiff’s first amended complaint against the United States is dismissed.

Dated:




                                                       ORDERED


                                                       _____________________________
                                                       Mitchell S. Goldberg
                                                       United States District Judge
         Case 2:21-cv-03413-MSG Document 22 Filed 06/29/22 Page 8 of 8




                               CERTIFICATE OF SERVICE

       I certify that on this date, I filed the foregoing Motion to Dismiss, Memorandum of Law,

and Order via ECF with service made via ECF filing on:

 Jordan Strokovsky                              James A. Young, Esquire
 Strokovsky LLC                                 Richard S. Margulies, Esquire
 1500 Market Street, 12th Floor East Tower      Adrianna M. Yanez, Esquire
                                                BURNS WHITE
 Philadelphia, PA 19102                         1880 JFK Boulevard, 10th Floor
                                                Philadelphia, PA 19103
 Counsel for Plaintiffs
                                                Counsel for Defendant Temple University
                                                Hospital, Inc., and Temple University
                                                Physicians, Inc.




Dated: June 29, 2022                               s/ Judith A.K. Amorosa
                                                   JUDITH A.K. AMOROSA
                                                   Assistant United States Attorney
